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                                                                      IN THE CIRCUIT COURT OF THE STATE 0F OREGON
                                                                                                                                             STATE 0 F OR E GON
                                                                                      Fo'R THE COUNTY 0F MARION                              ans-n             .
                                                                                                                                                                   J'rCUlt Courts
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                                               STATE OF OREGON                                    )        CASE NO: 220R16317
                                                                         Plaintiff,               )                                                      511$ @
                                                                                                  )       DA NO: 22-3803-A
                                                                                                  )
                                                                v.                                )       ORDER FINDING THE DEFENDANT
                                                                                                  )       UNFIT T0 PROCEED AND COMMIT TO
                                                                                                  )       TO OSH (ORS 161.370)
                                               SERGIO OROZCO-GUTIERREZ                            )
                                                                        Defendant.                )
                                                                                                  )
                                               DOB:             12/04/1976                        )




                                               The Court, upon receipt of a 30-Day Notice of End 0f OSH Jurisdiction Pursuant to Federal Court
                                               Order, has conducted a hearing to determine whether the time allotted for the defendant's
                                               treatment and restoration has expired.

                                               The Court ﬁnds that ORS 161.371 allows a maximum commitment for restoration services of one
                                               year for a misdemeanor offense. ORS 161.371 commands the OSH to "cause the defendant to be
                                               evaluated... for the purpose of determining whether there is a substantial probability that in the
                                               foreseeable future, the defendant will have ﬁtness to proceed". ORS 161.371 also dictates that
                                               "the defendant shall remain in the superintendent's or director's custody where the defendant
                                               shall receive treatment designed for the purpose of enabling the defendant to gain or regain ﬁtness
                                               to proceed".

                                               Honorable Judge Mosman ordered as part of Federal Court case number 3:02-cv-00339-MO that
                                               "the Oregon State Hospital shall immediately implement the maximum time for inpatient
                                               restoration in the neutral experts June 2022 report as follows: for patients whose most serious
                                               charge is a misdemeanor, the maximum duration of commitment for restoration shall be the lesser
                                               of the maximum permissible sentence for the underlying offense or 90 days". (Emphasis added).
                                               This order has been referred to as the Mosman Order.

                                               Following a review of the OSH records, and the testimony of four witnesses who have personal
                                               knowledge of the defendant and his course of treatment at OSH, the Court ﬁnds:
                                                      1. OSH has failed to perform their statutorily mandated evaluation regarding defendants'
                                                         ability to aid and assist and probability of restoration if deemed unable.
                                                     2. OSH has failed to administer any treatment designed for the purpose of enabling the
                                                         defendant to gain or regain ﬁtness to proceed.
                                                     3. The timeline articulated' 1n the Mosman Order has not yet been triggered as this
                                                         particular defendant has not been committed for restoration given the lack of treatment
                                                         and/or services he has been provided.

                                               This matter came before the Court for a determination of Defendant's ﬁtness to proceed pursuant to
                                               ORS 161.370


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                                               The Court ﬁnds that Defendant is charged with the following offenses (listed in order of seriusness by
                                               crime classiﬁcation):
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                                               Crime Name:           Crime ORS#:     Felony/Misd/Viol:       Maximum Sentence:       Booking Date:
                                               Att Coercion           163.275        Misdemeanor/A           364 days                10/2/22
                                               Assault 4 DV           163.160        Misdemeanor/A           364 days                10/2/22
                                               Contempt             33.015           Violation               180 days                10/2/22



                                               Based on the Court's review and consideration of (check all that apply):

                                                    E The reportﬁledunder ORS 161.365 by certiﬁed evaluator, Dr. Andrew sfé'vé'rhéféa'1'62'26/2'2
                                                                       l                             a        l                                          _




                                                       Recommendation from the community mental he'alth prograrn (CMHP)
                                                        I




                                                       Information from the local entity that would be responsible for            treatment
                                                                                                                       commumty
                                                       The Court's inquiry and observation of De_fendant at the hearing;
                                                    D  The defense counsel's representation;
                                                    _E
                                                                                                                                                             _   _   _   _   _




                                                       Witness testimony from State s witnesses: Dr. Stafford, Dr. DunkleyJ 'Ms. Tori Geter,_M§:__Marie
                                                    Hawkins_;3
                                                       Witness testimony from Defendant's witnesses:                         1'
                                                                                                                                                  ;'
                                                                                                                                                     '




                                                    D  The parties stipulation that            1s not ﬁt to proceed;-

                                                    E_ Qther1nformat1on provided:Defendant
                                                                                    Probable Cause Afﬁdavit

                                               THE COURT, and being fully informed, FINDS:
                                               1.   The Defendant is not ﬁt to proceed;

                                               2.   D The most serious offense in the charging instrtunent is a FELONY. Defendant, who is at least 18
                                                    years old, requires a hospital-level-of-care due to: (a) public safety concerns; or (b) the acuity of
                                                    symptoms of Defendant's qualifying mental disorder; and (c) that the appropriate community
                                                    restoration services are not present and available in the community.

                                               3.   E The most serious offense in the charging instrument is a MISDEMEANOR (check one)
                                                    D The court received: (a) a recommendation from a certiﬁed evaluator that Defendant requires a
                                                            hospital-level-of-care due to the acuity of symptoms of Defendant's qualifying mental
                                                            disorder; and (b) a recommendation from the CMHP that appropriate community restoration
                                                            services are not present and available in the community for Defendant; or

                                                    g The court ﬁnds that Defendant: (a) requires hospital-level-of-care due to the acuity of
                                                                                                         a
                                                            symptoms of Defendant's qualifying mental disorder; (b) there are public safety concerns; and
                                                            (c) appropriate community restoration services are not present and available in the community.
                                                    I
                                                            Case is connected to a Felony

                                               It is therefore ORDERED:

                                               1.   The criminal proceeding against Defendant, in the aforementioned matter, is suspended.

                                               2.   Defendant is committed to the custody of the Superintendent of the Oregon State Hospital (OSH).

                                               3.   Transportation: (check one)


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                                                    ® The Sher1ff s Ofﬁce/Department 1n the committing jurisdiction shall transport Defendant from
                                                    th_ejg_il__toQSH_i_n_S§1_er_n, Qre_g_on "Oregon State Hospital shall admit defendant to OSH by_BY
                                                    3/13/2023. The defendant may not be returned from OSH absent an order from the committing conrt
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                                                    after a ﬁnding that defendant 1s able, that he 1s ready to place, or that the statutory requirements for
                                                    restorative services have been satisﬁed and the applicable maximum commitment for restoration has'
                                                    beenmet .3113 gourt may set a hearing_upon request of either patty/J.

                                                    D Defendant shall voluntarily appear at OSH in Salem, Oregon at the date, time and location to be
                                                    determined by OSH. The Sheriffs Ofﬁce/Department shall transport Defendant from OSH to jail
                                                    upon notiﬁcation from OSH.

                                               4.   Defendant is committed to OSH for a maximum period, not to exceed:

                                                    D 3 years (if charges are Felony C, B, or A);
                                                    g year (Misdemeanor); or
                                                         1


                                                    D Other            (maximum of all pending charges; but cannot exceed 3 years).

                                               5.   The effective date for calculating this legal status is (mark one):

                                                    D The charging instrument includes a charge for Aggravated Murder or a crime listed in ORS
                                                         137.700(2). OSH shall calculate Defendant's maximum commitment to OSH from the date of
                                                         this Order; or

                                                    E The charging instrument does not include charge of Aggravated Murder or crime listed in
                                                                                                     a                                     a
                                                         ORS 137.700(2). OSH shall calculate Defendant's maximum commitment to OSH based on the
                                                         Defendant's booking/arrest date, giving credit for each day Defendant is held in'jail both before
                                                         and after Defendant's commitment under this Order.

                                               6.   Disclosure of Records:

                                                    a.   Medical Providers: Any public bodies and private medical providers, in possession of records
                                                         concerning Defendant shall release those records to OSH for the purpose of, and use in,
                                                         Defendant's ﬁtness to proceed. These documents shall be provided to OSH within 5 business
                                                         days of receipt of this Order. The Oregon Youth Authority, the Department of Corrections, a
                                                         community college district or service district, a public university, a school or education
                                                         service district must, after notifying OSH, provide the requested records within 15 business
                                                         days of receipt of this Order unless good cause exists.

                                                    b.   X (Optional,' check if applies) Substance Use Treatment Records: To the extent any
                                                         information or records described in subsection 6(a) of this Order relate to a substance use
                                                         disorder diagnosis or treatment, as deﬁned in 42 C.F.R. Part 2, ORS 430.399(6) and ORS
                                                         430.475(2), the court ﬁnds that: (i) disclosure is not for the purpose of criminal investigation
                                                         and prosecution; (ii) the information or records shall be used solely for the purpose of
                                                         evaluating Defendant's ﬁtness to proceed; (iii) other ways of obtaining the information are
                                                         not available or would not be effective; and (iv) the public interest in and need for disclosure
                                                         outweigh the potential injury' to Defendant's relationship with treatment providers. The court
                                                         orders any public bodies and private providers to disclose to OSH the minimally necessary
                                                         records and information that is essential to ﬁilﬁll the objectives of this Order.

                                                    c. Parties and Sheriff' s Ofﬁce/Department: The District Attorney, defense attorney, and Sheriff s
                                                       Ofﬁce/Department shall provide all non-privileged pertinent information about Defendant to
                                                       OSH within 5 business days of this Order.
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                                                  d.   Disclosure to Defense Counsel:

                                                       (i) The OSH certiﬁed forensic evaluator, who issued the report pursuant to ORS 161.365 or ORS
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                                                       161.370, may disclose Defendant's information protected under state and federal privacy laws to
                                                       defense counsel pursuant to this Order.

                                                       (ii) Upon written request to the OSH Records Custodian, OSH may disclose to defense counsel
                                                       Defendant's designated medical record or protected health information. Nothing in this Order
                                                       permits disclosure of Defendant's patient records and information, otherwise prohibited by law,
                                                       to the State or any other entity or individual not speciﬁed in this Order.

                                                                               NOTICE OF FIREARMS PROHIBITION
                                              The court has found that Defendant is not able to assist their lawyer represent them in their criminal
                                              case. As a result, federal law prohibits Defendant from having or buying ﬁrearms (guns or ammunition).
                              I
                                              The Oregon Judicial Department is required to report to the Oregon State Police that this ﬁrearms
                                              restriction applies to Defendant.

                                              Further proceedings are set on 3/16/23 at 1:30

                                              DATED:
                                                          A's-$023,
                                                                                                                    o              \Nx.
                                                                                                                  Ci cu1t Court Judge

                                              Defense Attorney                                           Deputy Dis  t Attorney
                                              Name: Jameson Acoba                                        Name: Evelyn Centeno
                                              Email: jameson@acobalawgroup.com                           Email: ecenteno@co.marion.or.us




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